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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                           ENRIQUE TELLO SOLORZANO,
                                   7                                                          Case No. 18-cv-00025-JCS
                                                          Plaintiff,
                                   8
                                                    v.                                        ORDER GRANTING MOTION TO
                                   9                                                          DISMISS AND DISMISSING PETITION
                                           JEFFERSON B. SESSIONS, et al.,                     WITHOUT PREJUDICE
                                  10
                                                          Defendants.                         Re: Dkt. No. 11
                                  11

                                  12
Northern District of California
 United States District Court




                                  13       I.     INTRODUCTION
                                  14              Petitioner Enrique Tello Solorzano filed a petition for habeas corpus (“Petition”) on

                                  15   January 2, 2018, when he was in immigration custody at the Mesa Verde Detention Center in

                                  16   Bakersfield, California. In his Petition, Solarzano asserted claims challenging denial of his

                                  17   requests to be released on bond and his application for U nonimmigrant status. On January 18,

                                  18   2018, Solarzano was removed to Mexico. Defendants now bring a Motion to Dismiss (“Motion”)

                                  19   asking the Court to dismiss Solarzano‟s Petition on the basis that: 1) the claims challenging the

                                  20   bond denial are moot because Solarzano is no longer being detained; and 2) the Court does not

                                  21   have subject matter jurisdiction over the claim challenging the denial of Solarzano‟s U

                                  22   nonimmigrant status application. The Court finds that the Motion is suitable for determination

                                  23   without a hearing and therefore vacates the hearing set for April 20, 2018 at 9:30 a.m. pursuant

                                  24   to Civil Local Rule 7-1(b). For the reasons stated below, the Motion is GRANTED.1

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                                  28    The parties have consented to the jurisdiction of the undersigned magistrate judge pursuant to 28
                                       U.S.C. § 636(c).
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                                   1   II.    BACKGROUND

                                   2         A.      Factual Background
                                   3              Solorzano is a citizen of Mexico who entered the United States unlawfully. Petition ¶ 33.

                                   4   Prior to his recent removal to Mexico, he had lived in the United States for 18 years.

                                   5   Authenticating Declaration of Counsel in Support of Petition for Writ of Habeas Corpus

                                   6   (“Authenticating Decl.”), Ex. 6. During that time, he became an alcoholic and was convicted four

                                   7   times of driving under the influence (“DUI”). Petition ¶ 33. In 2015, Solarzano received a felony

                                   8   DUI conviction and was sentenced to a year of incarceration, of which he served six months.

                                   9   Motion, Ex. A. (Mar. 21, 2016 Order of Immigration Judge) at 1–2. Following his release from

                                  10   incarceration, Solarzano was placed in immigration detention pursuant to 8 U.S.C. § 1226(a) and

                                  11   removal proceedings were initiated against him. Petition ¶¶ 8-9; Motion, Ex. A at 1.

                                  12              While in removal proceedings, Solarzano received two decisions by an immigration judge
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                                  13   denying his applications to be released on bond. Motion, Exs. A & B (bond decisions). In both,

                                  14   the immigration judges considered Solarzano‟s past DUIs and concluded that there was clear and

                                  15   convincing evidence that his release would pose a danger to the community. Id. The immigration

                                  16   judges found that Solarzano‟s willingness to enter into a 6-month residential treatment program

                                  17   was not sufficient to ameliorate this risk in light of his past failed attempts to address his alcohol

                                  18   addiction. Id. Solarzano appealed both decisions to the Board of Immigration Appeals (“BIA”),

                                  19   which denied the appeals. Motion, Ex. C (May 20, 2016 BIA decision); Ex. D (Oct. 18, 2016 BIA

                                  20   decision).

                                  21              During the pendency of his removal proceedings, Solorzano‟s wife applied for a derivative

                                  22   U nonimmigrant visa for her husband by filing with U.S. Citizenship and Immigration Services

                                  23   (“USCIS”) a Petition for Qualifying Family Member of U-1 Recipient (Form I-918 Supplement

                                  24   A), based on her own Petition for U Nonimmigrant Status (Form I-918) as a principal victim of

                                  25   qualifying criminal activity. Petition ¶ 14. Except as otherwise provided in the Immigration and

                                  26   Nationality Act, aliens who are inadmissible are ineligible to receive visas and ineligible to be

                                  27   admitted to the United States. 8 U.S.C. § 1182(a). Therefore, to receive a U nonimmigrant visa,

                                  28   an alien must either be admissible into the United States or, if he is inadmissible, receive a
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                                   1   nonimmigrant waiver of inadmissibility from USCIS. 8 C.F.R. § 214.14(f)(1)(ii). Solorzano

                                   2   admits that he is inadmissible. Petition ¶¶ 41, 61. He therefore requested a waiver of

                                   3   admissibility from USCIS. Id. ¶¶ 19, 59; Docket No. 1-3 at ECF pages 91–97.

                                   4             In a decision dated December 1, 2017, USCIS denied Solorzano‟s waiver request, relying

                                   5   heavily upon Solarzano‟s multiple DUI convictions. Docket No. 1-3 at ECF pages 112–18. In

                                   6   the decision, USCIS acknowledged that Solarzano had strong family and community ties and that

                                   7   he had attended Alcoholics Anonymous while incarcerated. Id. at116-117. Nonetheless, the

                                   8   decision stated that Solarzano had provided “insufficient evidence to demonstrate [his]

                                   9   rehabilitation,” noting, among other things, that “[w]hen a person‟s liberties are restricted due to

                                  10   detention or probation, the structured environment and continuous supervision limits opportunities

                                  11   to conduct restricted unlawful acts,” making it difficult for a judge to determine “whether lasting

                                  12   rehabilitation or reform of character has occurred.” Id. at 117. Because USCIS denied
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                                  13   Solarzano‟s request for a waiver of inadmissibility it also denied his U visa application. Id. at

                                  14   110-111.

                                  15             On January 16, 2018, an immigration judge ordered Solorzano removed. Because

                                  16   Solarzano waived appeal of that order, it became final. 8 C.F.R. § 1241.1(a); Motion, Ex. E (Jan.

                                  17   16, 2018 Order of Immigration Judge). He was subsequently removed to Mexico pursuant to a

                                  18   final order of removal. Motion, Ex. F (Warrant of Removal).

                                  19        B.      The Petition
                                  20             In the Petition, Solarzano asserted four claims. First, he asserted a claim under the

                                  21   Immigration and Naturalization Act (“INA”) and Rodriguez v. Robbins, 715 F.3d 1127 (9th Cir.

                                  22   2013) based on the allegation that he was denied an “adequate hearing at which the government

                                  23   shows that his detention remains justified.” Petition ¶¶ 65-71. Second, he asserted that his

                                  24   prolonged detention without an adequate bond hearing also violated his constitutional right to Due

                                  25   Process under the Fifth Amendment. Id. ¶¶ 72-77. Third, Solarzano asserted a claim under the

                                  26   Administrative Procedures Act (“APA”), 5 U.S.C. § 706(2)(A), based on the allegation that his

                                  27   “treatment at the bond hearing and subsequent bond order” were arbitrary and capricious and an

                                  28   abuse of discretion because the immigration judge did not “seriously consider[ ]” the “legal basis
                                                                                           3
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                                   1   of why [Solarzano] posed no „risk to society.‟” Id. ¶¶ 78-83. Finally, Solarzano asserted another

                                   2   claim under the APA asserting that the denial of his U nonimmigrant visa was arbitrary and

                                   3   capricious because “Petitioner can show, and can demonstrate through discovery and subpoenas,

                                   4   that other unrelated applicants for U nonimmigrant status have been approved with substantially

                                   5   similar or more egregious criminal records” and those applicants also “have less family ties and

                                   6   connections to the United States than the instant Petitioner.” Id. ¶¶ 84-88. (Hereinafter, the Court

                                   7   refers to Petitioner‟s first three claims as “the Bond Claims;” it refers to the fourth claim as “the U

                                   8   Visa Claim.”)

                                   9        C.      Contentions of the Parties
                                  10             In the Motion, Defendants contend Solarzano‟s Bond Claims are now moot because he is

                                  11   no longer being detained, having been removed to Mexico. Defendants further contend

                                  12   Solarzano‟s U Visa Claim should be dismissed because that decision turned on a discretionary
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                                  13   decision, namely, the decision not to waive Solarzano‟s inadmissibility, and therefore is not

                                  14   subject to judicial review under 8 U.S.C. § 1252(a)(2)(B)(ii). Defendants also contend the U Visa

                                  15   denial is not “final” because Solarzano‟s appeal of that decision is still pending, precluding review

                                  16   of the denial under the APA.

                                  17             Solarzano argues that his removal does not render his Bond Claims moot because the

                                  18   denial of his bond requests resulted in collateral consequences, namely, his inability to show that

                                  19   he had been truly rehabilitated due to his continued detention, which resulted in the denial of his

                                  20   request for an admissibility waiver and led to his removal. Solarzano also argues that his Bond

                                  21   Claims fall under an exception to the mootness doctrine because they involve issues that are

                                  22   “capable of repetition yet evading review.” With respect to his U Visa Claim, Solarzano rejects

                                  23   Defendants‟ argument that the Court lacks subject matter jurisdiction over that claim, citing

                                  24   Kucana v. Holder, 558 U.S. 233 (2010) and Ahmed v. Mayorkas, 719 F. Supp. 2d 1080, 1081

                                  25   (N.D. Cal. 2009). He also argues that there is no exhaustion required as to this claim because it

                                  26   raises constitutional questions and therefore, under the habeas statute, the exhaustion requirement

                                  27   is merely prudential. Because exhaustion is futile, Petitioner asserts, the Court need not wait for

                                  28   his appeal of the denial of his U nonimmigrant status application to be decided to address his U
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                                   1   Visa Claim.

                                   2   III.     ANALYSIS
                                   3             A.   Whether the Bond Claims Are Moot
                                   4            “At any stage of the proceeding a case becomes moot when „it no longer present[s] a case

                                   5   or controversy under Article III, § 2 of the Constitution.‟” Abdala v. I.N.S., 488 F.3d 1061, 1063

                                   6   (9th Cir. 2007) (quoting Spencer v. Kemna, 523 U.S. 1, 7 (1998)). “For a habeas petition to

                                   7   continue to present a live controversy after the petitioner‟s release or deportation . . . there must be

                                   8   some remaining „collateral consequence‟ that may be redressed by success on the petition.” Id.

                                   9   (citations omitted). Because the relief sought on Petitioner‟s Bond Claims was release from

                                  10   detention, these claims present a live controversy only if Petitioner can point to some legally

                                  11   cognizable collateral consequences that resulted from the denial of his request for release on bond

                                  12   that can be remedied by further proceedings. The Court concludes that Petitioner has not done so.
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                                  13            In support of his assertion that there were collateral consequences associated with the

                                  14   denial of his bond requests, Petitioner points to USCIS‟s reliance on his inability demonstrate that

                                  15   he was truly rehabilitated while in detention in support of its denial of a waiver of inadmissibility.

                                  16   Petitioner argues that had he not been in detention he could have participated in a residential

                                  17   treatment program and demonstrated that he was truly rehabilitated. This is not the sort of

                                  18   “remaining collateral consequences” that can be remedied by the Court on this Petition. Even if

                                  19   the Court concluded that there was some collateral consequence with respect to Petitioner‟s U

                                  20   nonimmigrant visa application arising out of the failure to provide an adequate hearing on

                                  21   detention, the Court could not now order such a hearing, or afford any other remedy related to

                                  22   Petitioner‟s detention because he is no longer in detention.

                                  23            Moreover, Petitioner‟s assertion that he would have been able to demonstrate his

                                  24   rehabilitation and thereby receive a U nonimmigrant visa if he had been released on bond is both

                                  25   speculative and not the sort of “concrete legal disadvantage” that is required to give rise to

                                  26   standing. See Zegarra-Gomez v. I.N.S., 314 F.3d 1124, 1125 (9th Cir. 2003). Hypothetically,

                                  27   Petitioner might have been able to demonstrate that he was fully rehabilitated if he had been

                                  28   released on bond, but past unsuccessful attempts to address his alcohol addiction suggest there was
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                                   1   also a reasonable possibility that Petitioner would not have been successful. Likewise, successful

                                   2   completion of the program might have led USCIS to reach a different conclusion as to whether to

                                   3   waive Petitioner‟s inadmissibility so that he could obtain a U nonimmigrant visa, but that is only a

                                   4   possibility.

                                   5           The Court also rejects Petitioner‟s assertion that his Bond Claims fall under the mootness

                                   6   exception for claims that are capable of repetition but evading review as there is no reasonable

                                   7   expectation that Petitioner will be subject to future immigration custody. See Martinez-Reyes v.

                                   8   Burns, No. CV 08-6039 CJC JC, 2011 WL 1375293, at *3 (C.D. Cal. Mar. 18, 2011), report and

                                   9   recommendation adopted, No. CV 08-6039 CJC JC, 2011 WL 1375163 (C.D. Cal. Apr. 11, 2011)

                                  10   (“To the extent petitioner suggests he might again illegally enter the United States and be subject

                                  11   to ICE detention . . . such argument is insufficient to evoke the „capable of repetition‟ exception

                                  12   since, among other reasons, this Court must assume petitioner will conduct his activities within the
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                                  13   law and so avoid such a scenario.”); see also Kingdomware Techs., Inc. v. United States, 136 S.

                                  14   Ct. 1969, 1976 (2016) (holding that “capable of repetition, yet evading review” exception to

                                  15   mootness doctrine applies only where “there is a reasonable expectation that the same complaining

                                  16   party will be subject to the same action again.”)(internal quotation marks, citations and brackets

                                  17   omitted; emphasis added).

                                  18           For these reasons, the Court dismisses Petitioner‟s Bond Claims on the basis that they are

                                  19   moot.

                                  20           B.     Whether the Court Has Subject Matter Jurisdiction Over the U Visa Claim
                                  21           An alien may be eligible for U–1 nonimmigrant status when he or she has been the victim

                                  22   of qualifying criminal activity. 8 C.F.R. § 214.14(b); see also 8 U.S.C. § 1101(a)(15)(U). A

                                  23   derivative U nonimmigrant visa may also be granted to a qualifying family who is admissible to

                                  24   the United States. 8 C.F.R. § 214.14(f)(1). Where an applicant for U nonimmigrant status is

                                  25   inadmissible, a waiver of the admissibility requirement may be requested under 8 U.S.C. §§

                                  26   1182(d)(14) or 8 U.S.C. § 1182(d)(3)(a)(ii). Under subsection (d)(14), the Secretary of Homeland

                                  27   Security is afforded discretion to grant a waiver of the U visa admissibility requirement if “the

                                  28   Secretary of Homeland Security considers it to be in the public or national interest to do so.”
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                                   1   Section 8 U.S.C. §1182(d)(3)(a)(ii) affords the Attorney General the discretion to grant a waiver

                                   2   of inadmissibility as to an alien who is inadmissible for any of the reasons set forth under

                                   3   subsection (a) of Section 1182.2 Finally, 8 U.S.C. § 1252(a)(2)(B)(ii) provides, in relevant part,

                                   4   that “no court shall have jurisdiction to review . . . any . . . decision or action of the Attorney

                                   5   General or the Secretary of Homeland Security the authority for which is specified under this

                                   6   subchapter to be in the discretion of the Attorney General or the Secretary of Homeland Security .

                                   7   . . .” This jurisdictional bar does not, however, apply to “constitutional claims or questions of law

                                   8   raised upon a petition for review filed with an appropriate court of appeals in accordance with this

                                   9   section.” 8 U.S.C. § 1252(a)(2)(D).

                                  10          Because the decision of whether to grant Petitioner‟s application for a waiver of the

                                  11   admissibility requirement for U nonimmigrant status falls within the discretion of the Secretary of

                                  12   Homeland Security and/or the Attorney General, judicial review of that decision is precluded
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                                  13   under 8 U.S.C. § 1252(a)(2)(B)(ii). Nor has Petitioner raised any colorable constitutional claims

                                  14   in connection with his U Visa Claim that would place it outside of the ambit of the jurisdictional

                                  15   bar in Section 1252(a)(2)(B)(ii). First, Petitioner does not expressly assert any constitutional

                                  16   claims in his Petition based on the denial of U nonimmigrant status. Second, to the extent he now

                                  17   contends his Petition raises Equal Protection and Due Process claims based on the denial of his U

                                  18   nonimmigrant visa, his arguments fail.

                                  19          With respect to a possible Equal Protection claim, Petitioner asserts in his Petition only

                                  20   that inadmissibility has been waived for other applicants with more serious criminal records and

                                  21   fewer ties to family and community; he does not allege that he was subjected to unequal treatment

                                  22   based on his membership in any particular class, as is necessary to state a claim for violation of his

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                                  24     The Homeland Security Act, enacted in 2002, contains a provision stating that where functions
                                       have been transferred by that Act to Department of Homeland Security (“DHS”), statutory
                                  25   references to the authority that was formerly responsible for those functions will be deemed to
                                       refer to DHS. See 6 U.S.C. § 557 (“With respect to any function transferred by or under this
                                  26   chapter[,] . . . reference in any other Federal law to any department, commission, or agency or any
                                       officer or office the functions of which are so transferred shall be deemed to refer to the Secretary,
                                  27   other official, or component of the Department to which such function is so transferred.”).
                                       Pursuant to that provision, the discretion afforded the Attorney General under 8 U.S.C. §
                                  28   1182(d)(3)(a)(ii) appears to have been transferred to the Secretary of the Department of Homeland
                                       Security.
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                                   1   constitutional right to Equal Protection. See Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir.

                                   2   1998) (to state an Equal Protection claim “a plaintiff must show that the defendants acted with an

                                   3   intent or purpose to discriminate against the plaintiff based upon membership in a protected

                                   4   class”). To the extent Petitioner might seek to assert a substantive Due Process claim based on

                                   5   denial of U nonimmigrant status, such a claim is precluded because “discretionary relief is a

                                   6   privilege created by Congress, [and therefore] denial of such relief cannot violate a substantive

                                   7   interest protected by the Due Process clause.” Munoz v. Ashcroft, 339 F.3d 950, 954 (9th Cir.

                                   8   2003). Finally, Petitioner has identified no procedural Due Process violation with respect to the

                                   9   denial of his U nonimmigrant visa, in contrast to his Bond Claims.

                                  10          Petitioner‟s reliance on Kucana v. Holder, 558 U.S. 233, 244 (2010) in support of his

                                  11   assertion that the Court has subject matter jurisdiction over his U Visa Claim is misplaced.

                                  12   Petitioner is correct that in Kucana, the Court found that Section 1252(a)(2)(B)(ii) did not
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                                  13   preclude judicial review of the BIA‟s denial of a motion to reopen removal proceedings, rejecting

                                  14   the BIA‟s argument that the decision was not subject to judicial review because administrative

                                  15   regulations (but not the statute itself) gave the Attorney General discretionary authority as to such

                                  16   decisions. Here, in contrast, the discretionary authority of the Attorney General (or Secretary of

                                  17   Homeland Security) to waive inadmissibility in connection with U nonimmigrant visas is

                                  18   expressly specified in the statute. Likewise, the Petitioner‟s reliance on Ahmad v. Mayorkas, 719

                                  19   F. Supp. 2d 1080 (N.D. Cal. 2009), does not support his position. In that case, the petitioner

                                  20   challenged the procedures used by USCIS to decide his application for adjustment of status to

                                  21   Lawful Permanent Residence. Id. The court held that it had subject matter jurisdiction over the

                                  22   claim in that case but made clear that its decision was based, in part, on the fact that the plaintiff

                                  23   was not challenging UCSIS‟s denial of a waiver of admissibility, which it found was not subject to

                                  24   judicial review. Id. at 1085.

                                  25          Therefore, the Court concludes that it does not have subject matter jurisdiction over the U

                                  26   Visa Claim.3

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                                  28    Because the Court concludes that it has no subject matter jurisdiction over the U Visa Claim, it
                                       need not reach the parties‟ arguments as to exhaustion.
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                                   1   IV.     CONCLUSION

                                   2           For the reasons stated above, the Motion is GRANTED. The Petition is DISMISSED

                                   3   without prejudice on the basis that his Bond Claims are moot and the Court does not have

                                   4   jurisdiction to review Petitioner‟s U Visa Claim.

                                   5           IT IS SO ORDERED.

                                   6   Dated: April 17, 2018

                                   7                                                   ______________________________________
                                                                                       JOSEPH C. SPERO
                                   8                                                   Chief Magistrate Judge
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